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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION




UNITED STATES OF AMERICA,

              Plaintiff,
                                                         CASE NO. 1:97-CR-82
v.
                                                         HON. ROBERT HOLMES BELL
RODNEY ATKINSON,

              Defendant.
                                   /


                      MEMORANDUM OPINION AND ORDER

       This matter is before the Court on defendant’s Motion for Modification or Reduction

of Sentence Pursuant to 18 U.S.C. §3582(c)(2) (docket #1229). Based on a review of

defendant’s motion, the Sentence Modification Report, submission by counsel for both

parties, and the original criminal file, the Court has determined that the motion should be

denied for the following reason(s):

       Defendant was sentenced on May 1, 1998 to 240 months custody and 5 years

supervised release following his conviction for Conspiracy to Possess with Intent to

Distribute and to Distribute Cocaine and Cocaine Base contrary to 21 U.S.C. §§846 and

841(a)(1).

       The Sentence Modification Report prepared as a result of defendant’s Amendment

750 motion states that defendant’s total offense level of 38, criminal history category of I,
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and guideline range of 235 to 293 months, remain unchanged from the guidelines at his

original sentencing on May 1, 1998.

      Since Amendment 750 does not result in a lower guideline range, defendant is not

eligible for a sentence reduction under 18 U.S.C. §3582(c)(2) and USSG §1B1.10(a)(2)(B).

      ACCORDINGLY, defendant’s motion (docket #) is DENIED.




Date: July 16, 2012                     /s/ Robert Holmes Bell
                                        ROBERT HOLMES BELL
                                        UNITED STATES DISTRICT JUDGE
